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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK


FARHAD AZIMA,
ALG TRANSPORTATION, INC.,
MAIN 3260 LLC,
FFV W39 LLC, and
FFV DEVELOPMENT LLC,                                Case No. 1:22-cv-08728 (PGG) (JW)

                        Plaintiffs,
v.
                                                  ORAL ARGUMENT REQUESTED
DECHERT LLP,
DAVID NEIL GERRARD,
DAVID GRAHAM HUGHES,
NICHOLAS DEL ROSSO,
VITAL MANAGEMENT SERVICES, INC.,
AMIT FORLIT,
INSIGHT ANALYSIS AND RESEARCH LLC,
SDC-GADOT LLC,
AMIR HANDJANI,
ANDREW FRANK, and
KARV COMMUNICATIONS,

                        Defendants.



                 MEMORANDUM OF LAW IN SUPPORT OF
     DEFENDANTS’ AMIT FORLIT, INSIGHT ANALYSIS AND RESEARCH, LLC,
              AND SDC-GADOT, LLC’S MOTIONS TO DISMISS

                                        By: /s/ Christopher S. Salivar, Esq.
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       Defendants Amit Forlit (“Forlit”), Insight Analysis and Research LLC (“Insight”), and

SDC-Gadot LLC (“SDC-Gadot”), respectfully submit this supplemental memorandum of law in

support of their motions to dismiss the Complaint filed by Plaintiffs on October 13, 2022.

                     WANT OF PERSONAL JURISDICTION (FORLIT)

       As an initial point, Defendant Forlit asserts that there is a complete absence of basis for

this Court to possess or assert personal jurisdiction over him, as at all times he has been an Israeli

citizen domiciled in Israel. Moreover, Plaintiffs (who are not New York residents, and who have

not identified any New York property allegedly damaged by the conduct of Forlit) have failed to

plead a cognizable basis for the exercise of long arm jurisdiction over Forlit under New York’s

long arm statute (N.Y. CPLR § 302 (2012)).

       “RICO does not have a jurisdictional provision authorizing personal jurisdiction—via

authorized service of process—over foreign defendants. See PT United Can Co. Ltd. v. Crown

Cork & Seal Co., Inc., 138 F.3d 65, 71-72 (2d Cir. 1998) (18 U.S.C. § 1965 "does not provide for

nationwide personal jurisdiction over every defendant in every civil RICO case, no matter where

the defendant is found"); see also 18 U.S.C. § 1965(b) (permitting, when "ends of justice require,"

service of process upon "other parties residing in any other district" (emphasis added)); Elsevier,

Inc. v. Grossman, 77 F. Supp. 3d 331, 342-43 (S.D.N.Y. 2015) (18 U.S.C. § 1965 may not be used

to exert personal jurisdiction over foreign defendants). See AmTrust Fin. Servs. v. Lacchini, 260

F. Supp. 3d 316, 330 (S.D. NY 2017).

       “Instead, "[p]laintiffs asserting RICO claims against foreign defendants must rely on the

long-arm statute of the state in which they filed suit." Laborers Local 17 Health & Ben. Fund v.

Philip Morris, Inc., 26 F. Supp. 2d 593, 601 (S.D.N.Y. 1998); accord First Capital Asset Mgmt.,

Inc. v. Brickellbush, Inc., 218 F. Supp. 2d 369, 392 (S.D.N.Y.), aff'd sub nom. First Capital Asset



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Mgmt., Inc. v. Satinwood, Inc., 385 F.3d 159 (2d Cir. 2004).” See Elsevier, Inc. v. Grossman, 77

F. Supp. 3d 331, 343 (S.D. NY 2015).

       “New York's long-arm statute permits personal jurisdiction over non-New York

domiciliaries based upon four distinct circumstances. A court may exercise personal jurisdiction

over a non-domiciliary who, "in person or through an agent:" (1) "transacts any business within

the state or contracts anywhere to supply goods or services in the state;" (2) "commits a tortious

act within the state[;]" (3) "commits a tortious act without the state causing injury to person or

property within the state . . . if he (i) regularly does or solicits business, or engages in any other

persistent course of conduct, or derives substantial revenue from goods used or consumed or

services rendered, in the state, or (ii) expects or should reasonably expect the act to have

consequences in the state and derives substantial review from interstate or international

commerce;" or (4) "owns, uses or possesses any real property situated within the state." N.Y. CPLR

§ 302(a).” AmTrust Fin. Servs. v. Lacchini, 260 F. Supp. 3d 316, 330 (S.D. NY 2017).

       As to Defendant Forlit, Plaintiffs’ jurisdictional allegations are found in paragraph 37 of

the Complaint, which state: “Exercise of jurisdiction over Defendant Forlit is proper pursuant to

18 U.S.C. § 1965(b) because Forlit transacted business and engaged in conduct in the United States

and New York that give rise in part to Azima’s claims. Among other things, Forlit participated in

meetings in New York with the RICO Conspirators in which they discussed and planned the use

of the hacked data and deploying false statements in U.S. and UK courts and to U.S. law

enforcement agencies in service of the Enterprise’s goal of inflicting reputation harm and litigation

costs on Azima. Forlit, through his U.S.-based companies Insight and SDC-Gadot, used the U.S.

financial system to send and receive multiple wires overseas and within the U.S. for the purpose

of promoting unlawful criminal activity, including wires that passed through New York. Also, as



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set forth more fully herein, Forlit’s co-conspirators have engaged in intentional, wrongful, illegal,

and/or acts in the United States and New York. Forlit was aware of the effects in the United States

and New York of those acts.”

         Attached hereto as Exhibits “1” and “2” are transcripts of testimony provided by Defendant

Forlit as representative of Defendants SDC-Gadot and Insight (respectively) during Rule 30(b)(6)

depositions conducted by Plaintiff’s counsel in S.D. Fla. Case No.: 1:22-cv-20707-JEM1. As

identified therein, Defendant Forlit appeared as Rule 30(b)(6) representative for each entity, and

swore, under oath, that Insight and SDC-Gadot were “wallet companies” whose sole purpose of

existence was to process and transmit payments on behalf of an Israeli company, Gadot

Information Services a/k/a Gadot Israel. Insight and SDC-Gadot were not “alter egos” or operated

solely for the benefit of Forlit. Mr. Forlit also testified that he, Insight, SDC-Gadot, and Gadot

Israel Services, never conducted any investigation of Plaintiff Farhad Azima, and had no hand in

the “hacking” of his computers or data. These transcripts have been provided in their entirety, with

relevant portions highlighted establishing that Mr. Forlit has not availed himself of this jurisdiction

for purposes of establishing a predicate for personal jurisdiction in connection with the instant

RICO claims.

         Attached as Exhibits “A” and “B” to the Complaint are compilations of funds transfers,

and communications, which the Plaintiffs allege substantiate the RICO claims they have asserted.

Looking to Exhibit “A”, Plaintiffs have not identified a single funds transfer that was paid to or

by, or received by, a person or entity located or operating within the State of New York. During

the Rule 30(b)(6) depositions of Insight and SDC-Gadot Defendant Forlit testified that he directed

the funds transfers when Insight and SDC-Gadot sent or received monies, and that he has at all



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    These depositions were conducted on July 20, 2022, and July 21, 2022, in Tel Aviv, Israel.

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relevant times been a resident of Israel. As to Mr. Forlit’s actual time spent in the State of New

York, per his testimony that consisted of a single trip to New York in 2018 to meet with Jamie

Buchanan for the purpose of passing on the contents of a disturbing conversation Mr. Forlit had

with Stuart Page, wherein Mr. Page indicated that he was being threatened and it was demanded

that he falsely implicate, or frame, Defendant Neil Gerard for “improper actions”. Mr. Forlit did

not meet with Mr. Buchanan, or any of the other co-Defendants, within the State of New York at

any time for purposes of planning or carrying out any alleged “racketeering activities” identified

in the Complaint.

       On its face, the Complaint is devoid of any specific allegation of Mr. Forlit conducting

business in, or directed to, the State of New York, or any damage(s) to the Plaintiffs or any property

of the Plaintiffs in the State of New York. The record before this Court also establishes that

Defendant Forlit was not served in the United States, but rather in his country of domicile (Israel).

As such, there is a complete want of personal jurisdiction.

       Even had the Plaintiff been able to allege a sufficient nexus or basis under N.Y. CPLR §

302, due process would still mandate dismissal for want of jurisdiction. “When the conduct at issue

occurs entirely outside of the forum, and the only relevant jurisdictional contacts are in-forum

effects harmful to the plaintiff, "the exercise of personal jurisdiction may be constitutionally

permissible if the defendant expressly aimed its conduct at the forum." Licci, 732 F.3d at 173

(citing Calder, 465 U.S. at 789). But "the fact that harm in the forum is foreseeable . . . is

insufficient for the purpose of establishing specific personal jurisdiction over a defendant." In re

Terrorist Attacks, 714 F.3d at 674. Instead, "[t]he proper question is not where the plaintiff

experienced a particular injury or effect but whether the defendant's conduct connects him to the

forum in a meaningful way." Walden, 134 S. Ct. at 1125. That is because "mere injury to a forum



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resident is not a sufficient connection to the forum. . . . [A]n injury is jurisdictionally relevant only

insofar as it shows that the defendant has formed a contact with the forum State." Id. Put

differently, a defendant's actions in one forum do not create sufficient contacts with another forum

merely because the defendant "allegedly directed his conduct at plaintiffs whom he knew had . . .

connections" to the other forum. Id.” AmTrust Fin. Servs. v. Lacchini, at 332-333.

        For purposes of determining whether minimum contacts exist with the State of New York

to support personal jurisdiction over a foreign defendant, “When contacts with New York have

been found sufficient to support personal jurisdiction, a defendant "'on his own initiative . . .

project[ed] himself into New York to engage in a sustained and substantial transaction of

business.'" DirecTV Latin Am., LLC v. Park 610, LLC, 691 F. Supp. 2d 405, 420 (S.D.N.Y. 2010)

(quoting Parke-Bernet Galleries. Inc. v. Franklyn, 26 N.Y.2d 13, 18, 256 N.E.2d 506, 308

N.Y.S.2d 337 (1970)).” See Fernando v. Fernando, 2010 U.S. Dist. LEXIS 79254, *22 (E.D. NY

2010). Absent such a sustained and substantial transaction of business, the Courts have found

personal jurisdiction wanting. “See C.B.C. Wood Products, Inc. v. LMD Integrated Logistics

Services, Inc., 455 F. Supp. 2d 218, 225 (E.D.N.Y. 2006) (finding no personal jurisdiction over

defendant where contract was executed outside of New York and defendant never visited New

York); Beacon Enterprises, Inc. v. Menzies, 715 F.2d 757, 766 (2d Cir. 1983) ("New York courts

have consistently [*24] refused to sustain § 302(a)(1) jurisdiction solely on the basis of defendant's

communication from another locale with a party in New York."); see also Berkshire Capital

Group, LLC v. Palmet Ventures, LLC, 307 Fed. Appx. 479 (2d Cir. 2008) (finding negotiation of

an agreement by telephone calls and e-mails from Illinois to New York insufficient to

establish personal jurisdiction over defendant in New York); Fiedler v. First City National Bank




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of Houston, 807 F.2d 315 (2d Cir. 1986) (finding no personal jurisdiction over defendant bank that

made two telephone calls and a mailing to New York plaintiffs).” See Id.

        Again, nowhere in the Complaint have the Plaintiffs alleged an injury to them, or their

property, in the State of New York. And aside from filing Affidavits with the Court in the Southern

District of Florida2 correctly attesting to his status as a non-resident and non-citizen, and that he is

not a “hacker” and that he never participated in hacking Plaintiff Farhad Azima, Plaintiff has failed

to allege actual conduct of defendant Forlit which would substantiate a minimum contacts analysis

sufficient for this Court to find that it comports with constitutional notions of due process to assert

jurisdiction over Defendant Forlit.

        As a final aside, though “hacking” is alleged numerous times within the Complaint,

Plaintiffs have never alleged where the hacking occurred, where the data storage device(s) which

were hacked were located, or when or where the data storage device(s) which were allegedly

hacked were accessed, for purposes of determining in what venue the alleged “hacking” occurred.

It has not been alleged that any data storage device was “hacked” or accessed in New York, or

from a computer or device located in New York. And though a second incident of “hacking” is

alleged beyond the 2015 incident discussed in the Complaint, there are no facts alleged which

would allow any party to identify the who, what, where, when, and how of this second alleged

“hack”, making it completely insufficient to stand as a basis to substantiate any allegation that

personal jurisdiction over Defendant Forlit would lie in the State of New York.




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  Exhibit “B” to the Complaint identifies communications which Plaintiffs allege constitute “wire
fraud”. The three (3) communications identified as to Defendant Forlit consist of filing affidavits
with the United States District Court in and for the Southern District of Florida, for purposes of a
Motion for Protective Order which was granted by the Court. See S.D. Fla. Case No.: 22-cv-20707-
JEM, at Dkt. # 7, #10, #17, and #21.


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       Given the foregoing, the Complaint must be dismissed with prejudice as to Defendant

AMIT FORLIT.

               FAILURE TO ALLEGE ACTIONABLE PREDICATE ACTS
                        OF RACKETEERING ACTIVITY:


       To expand upon a point addressed in the Defendants’ Joint Memorandum, the Plaintiffs’

Complaint fails to allege with any manner of clarity or specificity the actual commission of

“racketeering activities” as defined in 18 U.S.C. § 1961. While Plaintiffs use key words like

“obstruction”, “wire fraud”, “money laundering”, and “fraud”, Plaintiffs have not actually alleged

facts which, when taken in a light most favorable to the Plaintiffs, fall within the statutory

definition of “racketeering activities” as set forth in 18 U.S.C. § 1961. Moreover, a great deal of

the conduct alleged relates to activities conducted abroad, without any bother by the Plaintiffs to

seek to allege how those activities fall under the ambit of RICO.

       For purposes of example, 18 U.S.C. § 1961 does not identify a statutory activity

criminalizing “cover up” of alleged false filings or false testimony presented before a foreign court

or tribunal. The statue does not address “obstruction of justice” activities which do not occur in an

“official proceeding” which is statutorily defined (18 U.S.C. § 1515) as “(A) a proceeding before

a judge or court of the United States, a United States magistrate judge, a bankruptcy judge, a judge

of the United States Tax Court, a special trial judge of the Tax Court, a judge of the United States

Court of Federal Claims, or a Federal grand jury; (B) a proceeding before the Congress; (C) a

proceeding before a Federal Government agency which is authorized by law; or (D) a proceeding

involving the business of insurance whose activities affect interstate commerce before any

insurance regulatory official or agency or any agent or examiner appointed by such official or




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agency to examine the affairs of any person engaged in the business of insurance whose activities

affect interstate commerce;” See 18 U.S.C. § 1515 (1996).

       Additionally, allegedly filing a false affidavit, motion, pleading, or document in an “official

proceeding” would not constitute “obstruction of justice” under 18 U.S.C. § 1503, which

criminalizes the following conduct: “(a) Whoever corruptly, or by threats or force, or by any

threatening letter or communication, endeavors to influence, intimidate, or impede any grand or

petit juror, or officer in or of any court of the United States, or officer who may be serving at any

examination or other proceeding before any United States magistrate judge or other committing

magistrate, in the discharge of his duty, or injures any such grand or petit juror in his person or

property on account of any verdict or indictment assented to by him, or on account of his being or

having been such juror, or injures any such officer, magistrate judge, or other committing

magistrate in his person or property on account of the performance of his official duties, or

corruptly or by threats or force, or by any threatening letter or communication, influences,

obstructs, or impedes, or endeavors to influence, obstruct, or impede, the due administration of

justice, shall be punished as provided in subsection (b). …” See 18 U.S.C. § 1503 (1996).

       In the Complaint, the “obstruction” allegations directed to Defendant Forlit (though also

tangentially directed to Insight and SDC-Gadot) consist entirely of a) filing affidavits with the

United States District Court in and for the Southern District of Florida, and b) filing document

discovery responses. Of note, Amit Forlit is not individually a party to the proceedings in S.D. Fla.

Case No.: 22-cv-20707-JEM, as Farhad Azima’s initial deposition subpoena was quashed by Order

of the Court (See Dkt. # 21), and despite briefing on Farhad Azima’s Amended Petition for

Discovery under 28 U.S.C. 1782 directed to Mr. Forlit, the Court has not yet ruled that Mr. Forlit

is “found” in the Southern District of Florida so as to be subject to the discovery provisions of 28



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U.S.C. § 1872. In essence, the Plaintiffs’ claims as to these Defendants and any alleged

“obstruction” amounts to nothing more than the Plaintiffs disagreeing with the positions taken,

and the facts presented, to a trial Court in the Southern District of Florida. As a matter of law those

activities are not RICO predicate “racketeering activities”, and cannot substantiate any claim for

relief.

           Plaintiffs also allege conduct directed to third parties and which occurred beyond the

territorial jurisdiction of the United States, without bothering to allege that the underlying statutes

upon which the Plaintiff’s RICO claims rely apply extra-territorially. In R.J.R. Nabisco v.

European Cmty., 579 U.S. 325 (2016), the Supreme Court had occasion to rule on the issue of

extraterritorial application of 18 U.S.C. § 1961 et seq., and specifically which “racketeering

activities” as defined in 18 U.S.C. § 1961(1) committed outside of the territorial jurisdiction of the

United States of America could substantiate an actionable claim under 18 U.S.C. § 1962. In its

holding, the Court stated: “It is a basic premise of our legal system that, in general, “United States

law governs domestically but does not rule the world.” Microsoft Corp. v. AT&T Corp., 550 U.S.

437, 454, 127 S. Ct. 1746, 167 L. Ed. 2d 737 (2007). This principle finds expression in a canon of

statutory construction known as the presumption against extraterritoriality: Absent clearly

expressed congressional intent to the contrary, federal laws will be construed to have only domestic

application.” See Id. at 491-92. The Court then explained the scope of application of 18 U.S.C. §

1962(b) and (c) to extraterritorial acts as follows: “We therefore conclude that RICO applies to

some foreign racketeering activity. A violation of §1962 may be based on a pattern of racketeering

that includes predicate offenses committed abroad, provided that each of those offenses violates a

predicate statute that is itself extraterritorial. This fact is determinative as to §1962(b) and

§1962(c), both of which prohibit the employment of a pattern of racketeering. Although they differ



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as to the end for which the pattern is employed—to acquire or maintain control of an enterprise

under subsection (b), or to conduct an enterprise’s affairs under subsection (c)—this difference is

immaterial for extraterritoriality purposes.” Id. at 495 (emphasis added). Also, though a claim for

conspiracy in violation of 18 U.S.C. 1962(d) was not at issue and before the Court in R.J.R.

Nabisco v. European Cmty., the Court stated the following as to the rationale and analysis that

would be applicable to such a claim: “Finally, although respondents’ complaint alleges a violation

of RICO’s conspiracy provision, §1962(d), the parties’ briefs do not address whether this provision

should be treated differently from the provision (§1962(a), (b), or (c)) that a defendant allegedly

conspired to violate. We therefore decline to reach this issue, and assume without deciding that

§1962(d)’s extraterritoriality tracks that of the provision underlying the alleged conspiracy.” Id. at

495-96.

        Having failed to actually plead that the “racketeering activities” allegedly committed

abroad and which were directed to third parties arose under statutes which apply extra-terratorially,

Plaintiffs have failed to state valid claims upon which relief may be granted, and the Complaint

must be dismissed.

        Finally, Plaintiffs’ allegations of “wire fraud” fail to state a colorable cause of action, as

they do not actually plead the elements of a claim for wire fraud. See Targum v. Citrin Cooperman

& Co, LLP, 2013 U.S. Dist. LEXIS 164585 (S.D. NY 2013) (“First, "[t]he elements of mail or

wire fraud are (i) a scheme to defraud (ii) to get money or property, (iii) furthered by the use of

interstate mail or wires."). Plaintiffs’ allegations of “wire fraud” either pertain to a) the transfer of

funds allegedly put to use to pay for “hacking”, or b) the filing of documents with various District

Courts in the United States which Plaintiffs contend were “false”. Neither scenario addresses a




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scheme to defraud to get money or property, and therefore neither scenario constitutes actionable

“wire fraud”.

  LACK OF STANDING/FAILURE TO ALLEGE INJURY FROM RACKETEERING
                ACTIVITIES DIRECTED TO PLAINTIFFS:

       Another key deficiency in the Plaintiff’s Complaint is the litany of nebulous allegations of

conduct which was not directed to the Plaintiffs themselves, but rather to third parties. As stated

in Bates v. Northwestern Human Servs., 466 F. Supp. 2d 69, 91 (D.D.C. 2006),

       A RICO plaintiff, however, "only has standing if . . . he has been injured . . . by the

       conduct constituting the violation," Sedima, 473 U.S. at 496, an unexceptional

       requirement which buttresses the need for the plaintiffs to plead not only actual

       fraud, but actual fraud directed at the plaintiffs. See Anza v. Ideal Steel Supply

       Co.,     U.S.    ,   , 126 S. Ct. 1991, 1996-97, 164 L. Ed. 2d 720 (June 5, 2006)

       (holding that the plaintiff had not suffered an injury under Section 1962(c) where

       "the direct victim of [the alleged mail and wire fraud]" was not the plaintiff, but the

       State of New York). As the Sixth Circuit has stated, "the defendant must make a

       false statement or omission of fact to the plaintiff to support a claim of wire fraud

       or mail fraud as a predicate act for a RICO claim." Cent. Distributors of Beer, Inc.

       v. Conn, 5 F.3d 181, 184 (6th Cir. 1993) (emphasis in original); see Shahmirzadi v.

       Smith Barney, Harris Upham & Co, 636 F. Supp. 49, 54 (D.D.C. 1985) (noting that

       the Rule 9(b) standard requires, among other things, a showing that the allegedly

       fraudulent statements "misled the plaintiff") (citation omitted) (emphasis added).

       See Id. at 91.

       Throughout their Complaint, the Plaintiffs allege “wire fraud”, “bank fraud”, “money

laundering”, or “obstruction” communications which were not directed to the Plaintiffs


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themselves, but rather to third parties. Later in the Complaint, Plaintiffs allege a second incident

of “hacking”, designed to determine the “source of litigation funding”. See Complaint at

Paragraphs 162-169. These allegations however are entirely directed to third parties (i.e., Al Sadeq,

and his legal counsel) and not the Plaintiffs themselves, and completely devoid of alleged factual

support (instead relying upon “information and belief”). These allegations cannot support claims

by the Plaintiffs as they are not directed to activities which, in turn, were directed to the Plaintiffs

or their “business or property”.

       Moreover, the Complaint is completely devoid of allegation as to how the subject alleged

“racketeering activities” were directed to ALG TRANSPORTATION, INC., MAIN 3260, LLC,

FFV W39 LLC, and FFV DEVELOPMENT, LLC. To the contrary, all allegations in the

Complaint address conduct allegedly directed to Plaintiff Farhad Azima, or to third parties. This

at a minimum mandates dismissal of the corporate Plaintiffs’ claims with prejudice.

           CLAIMS BARRED UNDER BECK V. PUPRIS, 529 U.S. 494 (2000):

        As to the claims for damages arising out of alleged “lost business opportunity”, Plaintiffs’

claims fail based upon the rationale set forth in Beck v. Prupis, 529 U.S. 494, 507 (2000). Therein,

the Supreme Court held:

                As at common law, a civil conspiracy plaintiff cannot bring suit under RICO

        based on injury caused by any act in furtherance of a conspiracy that might have

        caused the plaintiff injury. Rather, consistency with the common law requires that

        a RICO conspiracy plaintiff allege injury from an act that is analogous to an "act of

        a tortious character," see 4 Restatement (Second) of Torts § 876,

        Comment b, meaning an act that is independently wrongful under RICO. The

        specific type of act that is analogous to an act of a tortious character may depend



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       on the underlying substantive violation the defendant is alleged to have

       committed. However, respondents' alleged overt act in furtherance of their

       conspiracy is not independently wrongful under any substantive provision of the

       statute. Injury caused by such an act is not, therefore, sufficient to give rise to a

       cause of action under § 1964(c).

               Petitioner challenges this view of the statute under the longstanding canon

       of statutory construction that terms in a statute should not be construed so as to

       render any provision of that statute meaningless or superfluous. He asserts that

       under our view of the statute, any person who had a claim for a violation of §

       1962(d) would necessarily have a claim for a violation of § 1962(a), (b), or (c).

       However, contrary to petitioner's assertions, our interpretation of § 1962(d) does

       not render it mere surplusage. Under our interpretation, a plaintiff could, through a

       § 1964(c) suit for a violation of § 1962(d), sue co-conspirators who might not

       themselves have violated one of the substantive provisions of § 1962.

               We conclude, therefore, that a person may not bring suit under § 1964(c)

       predicated on a violation of § 1962(d) for injuries caused by an overt act that is

       not an act of racketeering or otherwise unlawful under the statute.

       See Id. at 505-506 (emphasis added).

       Denial of a loan or financing application is not a “racketeering activity” defined under 18

U.S.C. § 1961(1), nor is “publications damaging to reputation”3. Moreover, it has not been alleged



3
  Of note, while Plaintiffs make reference to multiple online journal and news articles criticizing
Plaintiff Farhad Azima, no allegation is made that any journal or news article was drafted, posted,
or published, by any of these Defendants, or that any of these Defendants possessed power to direct
the posting or hosting of any such journal or news article. Moreover, none of the identified journal
or news articles alleged by the Plaintiff appear to have anything to do with the corporate Plaintiffs.

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that any of the Defendants coerced, blackmailed, threatened, or extorted Plaintiffs’ alleged lender

into denying the alleged financing application(s). To the extent Plaintiffs’ claims seeking relief

under 18 U.S.C. § 1964(c) based upon a violation of 18 U.S.C. 1962(d), as the overt act causing

Plaintiffs’ alleged damages was the denial of Plaintiffs’ loan or financing application by their bank

or lender, their claims are barred as a matter of law.

                                         CONCLUSION:

       Upon proffer of the foregoing, Defendants, AMIT FORLIT submits that he has

established a complete want of personal jurisdiction requiring dismissal of all claims directed to

him. Furthermore, Defendants INSIGHT RESEARCH AND ANALYSIS, LLC, and SDC-

GADOT, LLC proffer that they have established that the Complaint fails to state a valid cause of

action under Counts I and II, and as such dismissal with prejudice is warranted, as the nature of

the identified defects establishes that grating leave to amend will not allow the Plaintiffs to cure

their pleadings.

       WHEREFORE Defendants, AMIT FORLIT, INSIGHT RESEARCH AND ANALYSIS,

LLC, and SDC-GADOT, LLC, respectfully request that this honorable Court Dismiss the

Plaintiffs’ Complaint with prejudice.

Dated this 28th day of February, 2023.

                                               By: /s/ Christopher S. Salivar, Esq.
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